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                          4
                 Entered on Docket
                 May502, 2019
             ___________________________________________________________________
                          6
                          7    Jeffrey L. Hartman, Esq., #1607
                               HARTMAN & HARTMAN
                          8    510 West Plumb Lane, Ste. B
                               Reno, Nevada 89509
                          9    Telephone: (775) 324-2800
                               Fax: (775) 324-1818
                        10     notices@bankruptcyreno.com
                        11     Attorney (proposed) for Christina Lovato, Trustee
                        12                           UNITED STATES BANKRUPTCY COURT
                        13                                    DISTRICT OF NEVADA
                        14     IN RE:
                                                                          Lead Case No.: BK-19-50102-btb
                        15     DOUBLE JUMP, INC.                          (Chapter 7)
                        16                                                Jointly Administered with:
                               :        AFFECTS THIS DEBTOR
                                                                           19-50103-btb   Dora Dog Properties, LLC
                        17
                               G        AFFECTS DORA DOG                   19-50104-btb   Dog Blue Properties, LLC
                        18              PROPERTIES, LLC
                                                                           19-50105-btb   Brandy Boy Properties, LLC
                        19     G        AFFECTS DOG BLUE
                                        PROPERTIES, LLC                    19-50106-btb   475 Channel Road, LLC
                        20                                                 19-50108-btb   Park Road, LLC
                               G        AFFECTS BRANDY BOY
                        21              PROPERTIES, LLC                    19-50109-btb   140 Mason Circle, LLC

                        22                                                 19-50130-btb   DC Solar Solutions, Inc.
                               G        AFFECTS 475 CHANNEL ROAD,
                                        LLC                                19-50131-btb   DC Solar Distribution, Inc.
                        23
                               G        AFFECTS PARK ROAD, LLC             19-50135-btb   DC Solar Freedom, Inc.
                        24
                                                                          ORDER APPROVING TRUSTEE'S
                        25     G        AFFECTS 140 MASON CIRCLE,         MOTION FOR CONTINUING
                                        LLC                               RETENTION OF GLASSRATNER
                        26                                                ADVISORY & CAPITAL GROUP LLC
                               :        AFFECTS DC SOLAR                  AND SETH FREEMAN TO PROVIDE
                        27                                                POST CONVERSION SERVICES TO
                                        SOLUTIONS, INC.
                                                                          CHAPTER 7 TRUSTEE
                        28                                                Date: April 30, 2019 Time: 10:15 a.m.
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
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                          1    :      AFFECTS DC SOLAR
                                      DISTRIBUTION, INC.
                          2
                               :      AFFECTS DC SOLAR
                          3           FREEDOM, INC.
                          4    G      AFFECTS ALL DEBTORS.
                               ___________________________________/
                          5
                          6           The Court having considered the Motion of Christina Lovato, Trustee for the estates

                          7    of Double Jump, Inc., DC Solar Solutions, Inc., DC Solar Distribution, Inc., and DC Solar

                          8    Freedom, Inc. (collectively, "Debtors"), seeking an order authorizing continuing retention

                          9    of GlassRatner Advisory & Capital Group, LLC ("GlassRatner"), and Seth Freeman ("Mr.

                        10     Freeman"), to provide post-conversion services to the Double Jump Estates, effective as of

                        11     March 22, 2019, there having been no objection to the Motion, and good cause appearing,

                        12            IT IS ORDERED that the Trustee is authorized to continue retention of

                        13     GlassRatner and Mr. Freeman to provide post-conversion services to the Double Jump

                        14     Estates, effective as of March 22, 2019; and

                        15            IT IS FURTHER ORDERED that Trustee is authorized to utilize the services of

                        16     Mr. Freeman and, as required, the services of GlassRatner to assist in identifying additional

                        17     assets, potential claims for recovery of assets and other services the Trustee deems

                        18     necessary and appropriate to assist her in administration of these cases; and

                        19            IT IS FINALLY ORDERED that periodically GlassRatner shall file applications

                        20     for approval and payment of fees and expenses incurred.

                        21     Submitted by:

                        22     HARTMAN & HARTMAN

                        23
                               /S/ Jeffrey L. Hartman
                        24     Jeffrey L. Hartman, Esq.
                               Proposed Attorney for Trustee
                        25
                        26                                                 ###
                        27
                        28


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                          1                           ALTERNATIVE METHOD Re: RULE 9021
                          2    In accordance with Local Rule 9021, counsel submitting this document certifies that the
                               order accurately reflects the court’s ruling and that (check one):
                          3
                          4            The court has waived the requirement set forth in LR 9021(b)(1).
                          5      X     No party appeared at the hearing or filed an objection to the paper.
                          6            I have delivered a copy of the proposed order to all counsel who appeared at the
                                       hearing, any trustee appointed in this case and any unrepresented parties who
                          7            appeared at the hearing, and each has approved or disapproved the order, or failed
                                       to respond as indicated below.
                          8
                          9
                               Trustee’s Counsel:
                        10
                                 X     Prepared / Approved the form of this order
                        11
                                       Waived the right to review the order and/or
                        12
                                       Appeared at the hearing, waived the right to review the order
                        13
                                       Matter unopposed, did not appear at the hearing, waived the right to review the
                        14     order

                        15             Disapproved the form of this order

                        16             Did not respond to the paper

                        17     U.S. Trustee:
                        18             Approved the form of this order
                        19             Disapproved the form of this order
                        20             Waived the right to review the order and/or
                        21       X     Did not respond to the paper
                        22             Did not appear at the hearing or object to the paper
                        23             I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
                                       order with the motion pursuant to LR 9014(g), and that no party has objected to the
                        24             form or content of the order.
                        25     I declare under penalty of perjury that the foregoing is true and correct.
                        26
                               Submitted by:
                        27
                               HARTMAN & HARTMAN
                        28
                               /S/ Jeffrey L. Hartman
                               Jeffrey L. Hartman
    Hartman & Hartman
510 West Plumb Lane, Ste. B
    Reno, Nevada 89509
      (775) 324-2800
